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NOTICE OF APPEARANCE IN A CRIMINAL CASE

CLERK’S OFFICE
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
WASHINGTON, D.C. 20001

UNITED STATES OF AMERICA

vs. CRIMINAL NUMBER: 1:22-MJ-0228MAU

DAVID RENE ARREDONDO
(Defendant)

TO: ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT | APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.

| AM APPEARING IN THIS ACTION AS: (Please check one)

 

LI cua CT RETAINED 1 reveraL PUBLIC DEFENDER
(Signature)

PLEASE PRINT THE FOLLOWING INFORMATION:

JOHN P. CALHOUN
STATE BAR OF TEXAS NO. 03640500

 

(Attorney & Bar ID Number)
OFFICE OF THE FEDERAL PUBLIC DEFENDER
WESTERN DISTRICT OF TEXAS
(Firm Name)
700 E. SAN ANTONIO, STE. D-401
(Street Address)
EL PASO, TEXAS 79901

(City) (State) (Zip)
915-534-6525

 

(Telephone Number)
